          Case 1:21-cr-00552-DLF Document 140-1 Filed 05/20/23 Page 1 of 11




From: Emily Lambert
Sent: Saturday, May 20, 2023 9:30 AM
To: Miller, Samantha (USADC)
Cc: Roger Roots; McCauley, Sean (USADC); John Pierce; Jonathan Moseley
Subject: RE: Campanale 302


I will look into it myself then. I was just hoping that you would extend me the courtesy of answering
these questions since you are aware that we had a deadline this morning at 9:00 am to file a motion
regarding you neglecting to provide this information to the defense, but I acknowledge that you aren’t
required to do so. Thanks so much for all your information, and I hope you have a good rest of the
weekend.

Respectfully,
Em Lambert
Client Advocate
John Pierce Law
P:
21550 Oxnard Street
3rd Floor PMB #172
Woodland Hills, CA 91367




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contents of this message is prohibited. If you have received this email in error, please destroy it and notify me
immediately.



From: Miller, Samantha (USADC)
Sent: Saturday, May 20, 2023 9:14 AM
To: Emily Lambert
Cc: Roger Roots; McCauley, Sean (USADC); John Pierce; Jonathan Moseley
Subject: RE: Campanale 302

Ms. Lambert,

Respectfully, that information is publicly available on the docket.

Thanks,

Samantha
—
Samantha R. Miller
Assistant United States Attorney
United States Attorney’s Office | District of Columbia
Email:                   usdoj.gov
        Case 1:21-cr-00552-DLF Document 140-1 Filed 05/20/23 Page 2 of 11




Desk Tel:

From: Emily Lambert <             johnpiercelaw.com>
Sent: Saturday, May 20, 2023 9:11 AM
To: Miller, Samantha (USADC) <
Cc: Roger Roots <        johnpiercelaw.com>; McCauley, Sean (USADC) <
John Pierce <         johnpiercelaw.com>; Jonathan Moseley <          johnpiercelaw.com>
Subject: [EXTERNAL] Re: Campanale 302

Can you tell me what other Officers testified in the Wren trial?

Thank You,
Em


        On May 20, 2023, at 7:43 AM, Miller, Samantha (USADC) <                       usdoj.gov>
        wrote:


        LEWIS is the database with MPD that generates the reports of complaints made against
        officers and the results of any investigations into them, etc. The report Mr. Roots was
        referencing with Detective Anderson came from the LEWIS database.


        —
        Samantha R. Miller
        Assistant United States Attorney
        United States Attorney’s Office | District of Columbia
        Email:                   usdoj.gov
        Desk Tel:

        From: Emily Lambert <            johnpiercelaw.com>
        Sent: Saturday, May 20, 2023 7:40 AM
        To: Miller, Samantha (USADC) <
        Cc: Roger Roots <        johnpiercelaw.com>; McCauley, Sean (USADC)
        <                          John Pierce <        johnpiercelaw.com>; Jonathan
        Moseley <            johnpiercelaw.com>
        Subject: [EXTERNAL] Re: Campanale 302

        What about Lewis? There’s a folder you guys gave us titled “Lewis -Defense”
        Is this another case these Officers were involved with?
        Thank You,
        Em


                On May 20, 2023, at 6:57 AM, Miller, Samantha (USADC)
                <                  usdoj.gov> wrote:
Case 1:21-cr-00552-DLF Document 140-1 Filed 05/20/23 Page 3 of 11




     https://www.justice.gov/usao-dc/pr/two-cousins-found-guilty-eleven-
     felony-charges-including-assault-dangerous-weapon-related

     Judge Walton.


     —
     Samantha R. Miller
     Assistant United States Attorney
     United States Attorney’s Office | District of Columbia
     Email:                   usdoj.gov
     Tel:

     From: Roger Roots <          johnpiercelaw.com>
     Sent: Saturday, May 20, 2023 6:53:53 AM
     To: Miller, Samantha (USADC) <                           Emily Lambert
     <             johnpiercelaw.com>
     Cc: McCauley, Sean (USADC) <                              John Pierce
     <          johnpiercelaw.com>; Jonathan Moseley
     <            johnpiercelaw.com>
     Subject: [EXTERNAL] RE: Campanale 302

     Good morning Samantha,

     I don’t know much about the Wren/Smith trial. When did the trial end
     and which judge was it before?


     Respectfully,

     Roger Roots

     Partner

     John Pierce Law

     P:

     21550 Oxnard Street

     3rd Floor PMB #172

     Woodland Hills, CA 91367
Case 1:21-cr-00552-DLF Document 140-1 Filed 05/20/23 Page 4 of 11




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     From: Miller, Samantha (USADC)
     Sent: Saturday, May 20, 2023 6:50 AM
     To: Emily Lambert
     Cc: McCauley, Sean (USADC); Roger Roots; John Pierce; Jonathan
     Moseley
     Subject: RE: Campanale 302

     Good Morning, Ms. Lambert,

     Yes, sorry for the confusion: Wren/Smith was a 2-defendant trial that
     Campanale testified in and for which we have no transcripts yet. There
     may be other 302s that (1) mention these officers by name (often 302s
     where FBI agents say “I requested the BWC for Officer X, Y, and Z”),
     which we do not provide because they are not statements at all, or (2)
     302s that do not relate to the subject of their testimony in this case,
     which we also do not provide; for example, the Anderson one you
     referenced re his time in the tunnel or another re Campanale getting hit
     in the head by a pole – because neither of those had anything to do
     with these officers’ testimony in this case, they were not provided.

     Unless a 302 was created very recently, it should be in global
     discovery. I’ll take a look when I have a moment on the
     Anderson/tunnel one and let you know if I can find it.

     Hope this helps clarify your questions.

     Thanks,

     Samantha

     —
     Samantha R. Miller
     Assistant United States Attorney
Case 1:21-cr-00552-DLF Document 140-1 Filed 05/20/23 Page 5 of 11




     United States Attorney’s Office | District of Columbia
     Email:                   usdoj.gov
     Desk Tel:

     From: Emily Lambert <            johnpiercelaw.com>
     Sent: Friday, May 19, 2023 11:08 PM
     To: Miller, Samantha (USADC) <
     Cc: McCauley, Sean (USADC) <                              Roger Roots
     <         johnpiercelaw.com>; John Pierce
     <          johnpiercelaw.com>; Jonathan Moseley
     <            johnpiercelaw.com>
     Subject: [EXTERNAL] Re: Campanale 302

     In reviewing this I think i understand that US v Wren is the only case in
     which Campanale testified against two defendants Smith and Wren. Am
     I correct in this statement?

     There’s a reference in Anderson’s 302 also stating that he was
     interviewed previously regarding his time in the tunnel, which while I
     acknowledge has no connection to this case, I would like to see that
     interview as we have clients that are accused of being in the tunnel area
     generally.

     Sorry for the confusion, but many of these reports are so vastly
     different in many ways, and they seem to reference material that I
     either also don’t have or seems to not exist, so I’m baffled by them.
     Thank You,
     Em


             On May 19, 2023, at 10:19 PM, Emily Lambert
             <          johnpiercelaw.com> wrote:


             Ok, in your previous email you mentioned SMITH as
             well as WREN, so now I am doubly confused about
             exactly what I am missing here and where it would be
             located. Are you now stating that Smith is NOT a J6
             related case? Were these defendants prosecuted
             together? Can you point me to that case if so?

             Also, am I correct in that you are saying that nobody
             from the US Attorneys Office or the FBI interviewed
             these officers prior to last week? There have been no
             other interviews of these Officers? How were charges
             brought without interviewing the victims?

             Thank You,
Case 1:21-cr-00552-DLF Document 140-1 Filed 05/20/23 Page 6 of 11




           Em


                 On May 19, 2023, at 10:01 PM, Miller,
                 Samantha (USADC)
                 <                  usdoj.gov> wrote:


                 The J6 case is Wren and that’s the only
                 J6 one we’re aware of, but we did ask
                 him about his prior experience
                 testifying more generally, which is why
                 it references Superior Court, etc.


                 —
                 Samantha R. Miller
                 Assistant United States Attorney
                 United States Attorney’s Office |
                 District of Columbia
                 Email:                   usdoj.gov
                 Tel:

                 From: Emily Lambert
                 <             johnpiercelaw.com>
                 Sent: Friday, May 19, 2023 9:58:14 PM
                 To: Miller, Samantha (USADC)
                 <
                 Cc: McCauley, Sean (USADC)
                 <                            Roger
                 Roots <          johnpiercelaw.com>;
                 John Pierce
                 <          johnpiercelaw.com>;
                 Jonathan Moseley
                 <            johnpiercelaw.com>
                 Subject: [EXTERNAL] Re: Campanale
                 302

                 Sean & Samantha,
                 I am referring to the passage in
                 Campanale’s 302 where it states, and I
                 quote verbatim: “Campanale has
                 testified several times before, both in
                 D.C. District Court and D.C. Superior
                 Court, Camapnale testified in other
                 January 6 cases, most recently in U.S. v.
                 Wren. It was a long year (2020) for
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                 Campanale, and January 6th was
                 “piggybacking” on that.”

                 I am concerned you both seem to have
                 different answers for whether or not he
                 has previously testified, and I also
                 question whether testifying only two
                 times would warrant the use of the
                 word “several”.

                 Thank You,
                 Em


                        On May 19, 2023, at
                        9:41 PM, Miller,
                        Samantha (USADC)
                        <                  usd
                        oj.gov> wrote:


                        Ms. Lambert,

                        I’m not at my computer
                        right now, but Officer
                        Campanale testified in
                        the Wren and Smith
                        trial, which we don’t
                        have transcripts for
                        yet.

                        I can double check on
                        your other question
                        tomorrow morning, but
                        I believe we’ve
                        provided you all that
                        we could find on 302s,
                        and can confirm the
                        only officer interviewed
                        for the purposes this
                        case prior to 5/1/2023
                        was Ainsworth.

                        Thanks,

                        Samantha
Case 1:21-cr-00552-DLF Document 140-1 Filed 05/20/23 Page 8 of 11




                       —
                       Samantha R. Miller
                       Assistant United States
                       Attorney
                       United States
                       Attorney’s Office |
                       District of Columbia
                       Email:
                       @usdoj.gov
                       Tel:

                       From: Emily Lambert
                       <             johnpiercel
                       aw.com>
                       Sent: Friday, May 19,
                       2023 9:33:51 PM
                       To: Miller, Samantha
                       (USADC)
                       <
                       >
                       Cc: McCauley, Sean
                       (USADC)
                       <SMcCauley@usa.doj.g
                       ov>; Roger Roots
                       <         johnpiercelaw
                       .com>; John Pierce
                       <          johnpiercela
                       w.com>
                       Subject: [EXTERNAL]
                       RE: Campanale 302

                       Also, I don’t see where
                       we were provided
                       Giglio & Jencks for
                       Campanale prior to this.
                       It says in his 302 that he
                       has testified before, but
                       I am not aware of us
                       ever receiving those
                       transcripts. Can you
                       point me to where they
                       are located?

                       Respectfully,
                       Em Lambert
                       Client Advocate
                       John Pierce Law
                       P:
                       21550 Oxnard Street
Case 1:21-cr-00552-DLF Document 140-1 Filed 05/20/23 Page 9 of 11



                       3rd Floor PMB #172
                       Woodland Hills, CA 91367




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                       From: Emily Lambert
                       Sent: Friday, May 19,
                       2023 8:50 PM
                       To: Miller, Samantha
                       (USADC)
                       Cc: McCauley, Sean
                       (USADC); Roger Roots;
                       John Pierce
                       Subject: RE: Campanale
                       302

                       Samantha and Sean,
                       Can you please confirm
                       that these 302’s with
                       Campanale, Anderson,
                       Leano, and Niewenhous
                       on 5/11 are the ONLY
                       ones that exist? There’s
                       one for each of them,
                       and two for
                       Campanale? These
                       officers were NEVER
                       interviewed prior to
                       5/11 by the FBI?

                       Respectfully,
Case 1:21-cr-00552-DLF Document 140-1 Filed 05/20/23 Page 10 of 11



                        Em Lambert
                        Client Advocate
                        John Pierce Law
                        P:
                        21550 Oxnard Street
                        3rd Floor PMB #172
                        Woodland Hills, CA 91367

                        <3A094C8D837F4CB59
                        AE8972A660D4CE5.png
                        >
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                        copying, distribution, or
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                        immediately.



                        From: Miller, Samantha
                        (USADC)
                        Sent: Friday, May 19,
                        2023 8:21 AM
                        To: Emily Lambert
                        Cc: McCauley, Sean
                        (USADC); Roger Roots;
                        John Pierce
                        Subject: RE: Campanale
                        302

                        Ms. Lambert,

                        Serial 120 covers our
                        meeting with him on
                        5/2/23, which was
                        included in the recent
                        production. I thought
                        you meant did we
                        provide 302s previously
                        on him – the answer is
                        no; but we met with
                        him twice in the last
Case 1:21-cr-00552-DLF Document 140-1 Filed 05/20/23 Page 11 of 11




                        two weeks, once by
                        video and once in
                        person, serials 120 and
                        128 (also attached).

                        Sorry for the the
                        confusion. More
                        broadly, I believe
                        Ainsworth is the only
                        officer-witness we
                        talked to prior May
                        2023.

                        Thanks,

                        Samantha
                        —
                        Samantha R. Miller
                        Assistant United States
                        Attorney
                        United States
                        Attorney’s Office |
                        District of Columbia
                        Email:
                        @usdoj.gov
                        Desk Tel:


                        From: Emily Lambert
                        <             johnpiercel
                        aw.com>
                        Sent: Friday, May 19,
                        2023 8:10 AM
                        To: Miller, Samantha
                        (USADC)
                        <
                        >
                        Cc: McCauley, Sean
                        (USADC)

                            ; Roger Roots
                        <         johnpiercelaw
                        .com>; John Pierce
                        <          johnpiercela
                        w.com>
                        Subject: [EXTERNAL]
                        Re: Campanale 302
